                                                                     CV-19-44384                                           Filed 9/24/2019 2:48 PM
                                                                                                                                      Nancy Young
                                                          Fannin County - 336th District Court                                         District Clerk
                                                                                                                                 Fannin County, TX

                                                                                                                               Nicola Mcconnell

                                                    CAUSE NO.
                  LOYD D. JOHNSON FAMILY LIMITED                                §          IN THE DISTRICT         COURT
                  PARTNERSHIP N0. 1, AND LDJ                                    §
                  OPERATIONS, LLC                                               §

                          Plaintiffs,                                           2
                                                                                §          FANNIN COUNTY, TEXAS
              V.                                                                §
                                                                                §
              NORTH TEXAS MUNICIPAL WATER                                       §
              DISTRICT, AND PHILLIPS AND JORDAN,                                §
                  INC.,                                                         §
                          Defendants.                                           §          336TH JUDICIAL DISTRICT
                                                  PLAINTIFFS’ ORIGINAL PETITION

              TO THE HONORABLE JUDGE OF SAID COURT:
                          COME NOW, Loyd D. Johnson Family Limited Partnership N0.                        1   and LDJ Operations,

              LLC (“Plaintiffs”) and ﬁle this their Original Petition,              complaining of (1) North Texas Municipal

              Water       District   and (2) Phillips and Jordan,   Inc. (“Defendants”),         and for cause would respectfully

              show the Court as follows:

                                                                          I.
                                                     DISCOVERY CONTROL PLAN
                          ‘In   accordance with the requirements of Rule 190.1 of the Texas Rules of Civil Procedure,

              Plaintiffs intend that       discovery be conducted under Level 3 as provided by Rule 190.4.

                          Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs state that they are

                  seeking monetary relief over $1,000,000.00 and that the damages sought are within the

              jurisdictional limits       of the court.




              PLAINTIFFS’ ORIGINAL PETITION                                                                             — PAGE    .1




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                                                                              II.
                                                                         PARTIES
                            A.         PLAINTIFFS:        Plaintiff Loyd      D. Johnson Family Limited Partnership No.                   1   is   a

                  Texas limited partnership organized in and under the laws of the State of Texas.                         It   owns the land

                  which comprises the LoJo Ranch.               Plaintiff     LDJ   Operations,     LLC      is   the general partner of

                  Plaintiff Loyd D.      Johnson Family Limited Partnership No.            1, is   an LLC organized under the laws

                  of the State of Texas and does business in Texas under the business name “LoJo Ranch.”

                  Plaintiff   LDJ   operates the farm and ranching operations of LoJo Ranch. LoJo                          Ranch   is   located

                  in northeast Fannin County, Texas in a location that is depicted below. Although not parties to

                  the case,   Loyd Johnson and Chris Johnson             are real estate agents in Fannin County, and they are

                  the principals in charge of the operation of the general partner.                Loyd Johnson       is   Chris Johnson’s

                  father.


                            B.         DEFENDANTS:
                            Defendant North Texas Municipal Water District (hereinafter                    “NTMWD”) purports to be
                  a governmental agency, organized and existing               by virtue of Article XVI, Section 59 of the Texas

                  Constitution, and Article 8280-141 of the Revised Civil Statutes of the State of Texas.

                  Defendant       NTMWD          may be   served with process through               its   Executive Director/General

                  Manager        Tom   Kula, Administration Building, 501 East              Brown         Street,   Wylie, Texas 75098

                  and/or through       its   counsel, Lewis Isaacks,     SAUNDERS, WALSH & BEARD,                      6850      TPC    Drive,

                  Suite 210,     McKinney, Texas 75070.

                            Defendant Phillips and Jordan,           Inc. (hereinafter   “P&J”)    is a   Tennessee corporation doing

              business in the State of Texas.             P&J   is   the contractor constructing the Bois D’ Arc Reservoir in

              Fannin County.                 P&J’s registered agent     is   CT   Corporation System         who may be          served with

              process at 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

              PLAINTIFFS’ ORIGINAL PETITION                                                                                        — PAGE 2



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                                                                   III.
                                                  JURISDICTION AND VENUE
                       The   District Court has jurisdiction over the subject matter           and persons of       this action


              because the events giving       rise to the action   took place in Texas, the amount            in controversy


              exceeds the    minimum    jurisdiction   of the    District Courts, Plaintiffs      and Defendant       P&J   are

              residents of Texas or are business entities conducting business in the State of Texas, and any

              immunity claimed by Defendant          NTMWD        is   waived as     to Plaintiffs’ inverse   condemnation

              claims under Texas Constitution Article     1,    §l7. Alternatively, as to Defendant        NTMWD, and to
              the extent Defendant    NTMW'D’s actions are deemed not to constitute an inverse taking, pursuant

              to   TEX. CIV. PRAC.   & REM. CODE §101.02], NTMWD is liable for the actions of its contractor,
              Defendant P&J, over whose tasks       NTMWD had the legal right to control.
                       The   District Court   of Fannin County has venue over               this action   because    “all or a


              substantial part   of the events or omissions giving        rise to the   claim occurred” in Farmin County.

              TEX. Crv. PRAC.    & REM. CODE § l5.002(a)(l).
                                                                   IV.
                                                                 FACTS
                       Plaintiffs are the   owners of the property      in   Farmin County, Texas known as and doing

              business as 1.010 Ranch, at the location    shown        in the   image below, a few miles northeast of the

              proposed Bois D’ Arc Reservoir.




              PLAINTIFFS’ ORIGINAL PETITION                                                                         — PAGE 3



Unofficial Copy
                                          LoJo Ranch
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                             Teleplmne
                                                                           '

                                                                                                E
                                                                                                                          .




                    Future Bois D’ Arc                                                          I




                    Reservoir Dam
                                                                               Bois D:                        Fannm           /

                                                                               Arc   Cw              k at-.1111at1"
                                                                                                     .,
                                                                                                          v oun _'
                                                                                                              Line




                     NTMWD        is   the entity responsible for the development, design, construction, and

              operation of the Bois D’ Arc Creek Reservoir project, including the construction project

              undertaken by    NTMWD’s       contractor,   P&J, near and upstream of                Plaintiffs’ property.         The

              proximity of the   new   lake to the   LoJo Ranch   is   seen above.   The      future permanent        dam of the
              reservoir is 3.25 miles southwest of the southwest corner of           LoJo Ranch and            is   approximately

              five miles   upstream of LoJo Ranch following the meanders of the Bois D’ Arc Creek and

              ﬂoodplain.

                     The U.S. Anny Corps of Engineers (USACE)                  issued   its   Record of Decision (ROD)

              granting   NTMWD a Clean Water Act section 404 permit to allow construction of the dam for the
              PLAINTIFFS’ ORIGINAL PETITION                                                                            — PAGE 4



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              long-awaited Bois D’ Arc Creek Reservoir near Bonham, Texas on February 2, 2018.

              Construction of the reservoir began on or about June               1,   2018.   A major part of the construction is
              the clear cutting of all timber in a large portion           of the footprint of the reservoir and land     clearing.


              During the   first   year of construction on the lake              site,   by May    31, 2019,   NTMWD        and   its


              contractor had cleared 4,600 acres of trees and land and placed 530,000 cubic yards of ﬁll dirt

              material on the   site.


                     The construction of the project involved massive amounts of dirt work,                      clear cutting trees


              and bushes, digging up grass and              terrain, creating   many huge        brush and tree piles that were

              burned. and disturbing soils that have never been disturbed by man.                        These conditions were

              susceptible to ﬂooding for          many     reasons, including that the previous natural erosion control

              (grasses, trees, bushes) that       had been     in place in the area for thousands         of years was removed

              and/or disturbed as part of the project.

                     During the intense         dirt   work and construction      at the lake site, fall rains   kicked off in the

              area near the project     site.     At a nearby      NOAA       weather station in Honey Grove, Texas, the

              monthly   rainfall totals for the        time period after   NTMWD started construction (June 2018 — July
              2019) were as follows:

                                June 2018                    0.69 inches
                                July 2018                    1.34 inches
                                August 2018                  3.40 inches
                                September 2018               14.38 inches
                                October 2018                 10.77 inches
                                November 2018                1.61 inches
                                December 201 8               6.82 inches
                                January 2019                 2.24 inches
                                February 2019                2.82 inches
                                March 2019                   2.85 inches
                                April 2019                   6.35 inches
                                May 2019                     9.74 inches
                                June 2019                    8.07 inches
                                July 2019                    0.40 inches

              PLAINTIFFS’ ORIGINAL PETITION                                                                              — PAGE 5



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              Attached as Exhibit              A     are true   and correct copies of the           NOAA   Record of Climatological

                  Observations,        Honey Grove, Texas          Station showing the daily/monthly rainfall totals for the

              referenced period.‘

                                                                     Damaging Events

                           Heavy rains       hit the area   on Friday, September 21, 2018 and continued through Saturday,

              September 22, 2018. By Sunday September 23, 2018, a portion of the property                                   in question     was

              ﬂooded as depicted             in the photo   shown below.




                                                                                                                                             *5.




                                                                                                                                               ~




                           The ﬂoodwaters were not unusual, but what was                            different    was the         fact that the


              ﬂoodwaters did not recede as was                  typical.   This did not become apparent for weeks.                   It   wasn’t

              until    weeks        into   October   that Plaintiffs realized the       magnitude of the        silt,   trash,   and sediment

              deposited          on   their land   which had been transported from the lake construction                     site.   Plaintiﬁs

              were prevented from entering the property due to the wet and ﬂooded conditions.




              '
                  There   is   no recorded data at the Honey Grove   Station   from 2010 to 2014.
              PLAINTIFFS’ ORIGINAL PETITION                                                                                          — PAGE 6



Unofficial Copy
                         In September and October of 2018, and at additional times subsequent, rains in Fannin

                  County ﬁlled up the creeks and drainage     areas, including the historically signiﬁcant Bois      D’ Arc

              Creek.        During these   critical times,   NTMWD      and P&J,     its   contractor in charge of the lake

              construction, failed to keep the storm drainage       from the rains from literally carrying away tons of

              silt, dirt,   amd previously cut timber from the lake      site to   downstream landowners     like Plaintiffs.


              Silt, dirt,    and remnants of cut timber,      as well as fully cut timber logs that       had not yet been

              burned, were washed downstream until they were deposited onto Plaintiffs’ property,                       The

              portion of Plaintiffs’ property effected by the      overﬂow is shown below.




                                                                           —————~—LoJo
                                                                                                        Ranch           ‘

                                                    OM °’.‘.KSl'°f"’”
                                                                                               4300 acres
                                                   W
                   Area      in   Red      is
                   area impacted
                   by silt, sedirnenation
                                                         '




                   logjams, direct
                   property damage




              PLAJNTIFFS’ ORIGINAL PETITION                                                                      — PAGE 7



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                  During the storm events, the         silt,    sediment, and large timber pieces ﬂoated           down    the creek

                  ﬂoodplain   until   they encountered obstacles on the Plaintiffs’ ranch in the form of               tall   trees or


              vegetation that slowed the           ﬂowing waters and/or trapped          the timber, trees, and other debris.     The

              existing bushes and trees acted like a ﬁlter or screen, trapping debris                  ﬂowing    in the creek basin.


              This resulted in additional catching of other pieces and slowly the creation of log jam.                        As more

              and more debris and          trees   ﬂowed       onto the property, the drainage was slowed more and more,

              which created ﬂooding. The ﬂooding caused                    silt   and sedimentation and other damage.

                        In addition, the events created three distinct log jams on the property.                  The approximate

              locations of these logjarns/natural              dams on    Plaintiffs’   property are   shown below. Subsequent

              ﬂooding has moved in whole or                    in part   some of the logjams and       created   new and      different

              logjams.        The exact    locations are approximate due to the near impossibility of entering the

              portions of the property along the creek from September 2018 through                      May of 2019.



                                                                                              Three Iogjams
                                                                                              created by initial
                                                                                              event, timber,
                                                                                              trash, silt, dirt,
                                                                                              sediment,    all
                                                                                              getting hung up
                                                                                              in existing trees.




              PLAINTIFFS’ ORIGINAL PETITION                                                                               — PAGE 8



Unofficial Copy
                        These logjams and the other storm damage remain on the property and have changed the

              drainage and      ﬂows of storm waters        across the ranch.    Now, every time        there is a signiﬁcant rain

              event, Plaintiffs’ property ﬂoods. Before the Bois            D’ Arc Reservoir project construction, while

              there were    ﬂooding events where water reached the same levels as from the ﬂooding complained

              of here, there was never         silting, debris,   or sedimentation issues, and      ﬂood waters drained and

              receded    much more quickly before the construction of the reservoir.             Parts of the ranch that never

              ﬂooded now ﬂood. The landowner has never had                 silting, debris,   or sedimentation the entire time

              it   has owned or operated the ranch since the early 1980s.

                        The   silt.   sediment, and other debris have covered approximately 120 acres of land on the

              LoJo Ranch along both sides of the banks of Bois D’ Arc Creek such                         that approximately         120

              acres of trees along, the creek        have died or very   likely will die   because the height of silt rose too

              high up the tree trunks. The 120 acres must be cleared of the trees and the deep                        silt   must be

              hauled away, as well as        all   of the other timber, trash and other debris in the area that came           to the


              site   as a result of the actions and inactions of       NTMWD and P&J and the Bois D’ Arc Reservoir
              construction. Plaintiffs should be compensated for these costs.

                        The   failure to control the erosion      and downstream sedimentation also resulted in covering

              approximately 440 acres of Plaintiffs’ land in             silt   such that the 440 acres needs to have               silt


              removed and the drainage re—graded so                 that the land drains properly as           it   did before the

              sedimentation took place.             Accumulated sediment from the lake           site    deposited on the ranch

              prevents the 440 acres from draining into the Bois D’ Arc Creek as they did before. Plaintiffs

              should be compensated for the costs they will incur to re-establish the farmland grades and

              remove the      silt.    The approximate     locations of the areas heavily      damaged by       the deep     silt   and

              sedimentation referenced above are           shown below.


              PLAINTIFFS’ ORIGINAL PETITION                                                                             — PAGE 9



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                                                                       Sail   80 ac

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                                                       /'-'
                                                                  approximate ltication
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                                                                  of heawy silt and
                                                                  sedimentatoin danmge




                      In addition, there are approximately 290 acres of Plaintiffs’ land used for wheat

              production and 150 acres of pasture that cannot be used. This will continue until                        NTMWD and
              P&J   complete the   dam     construction at the reservoir.        Plaintiffs   should be compensated for          this


              temporary use and possession of their land by           NTMWD and P&J.
                      In addition, the farmland within Plaintiffs’ property            was   in   very productive shape and had

              been well maintained, cultivated, and cleared of weeds and invasive                            plants.     Due   to the

              inundation of the    silt,   sedimentation and other foreign substances,              it   will take three successive


              years of aggressive     weed management before           the productive farmland             is free   of weeds again.

              Plaintiffs should   be compensated for this additional cost to get the land free of weeds, as well as

              the lost production resulting     from the less productive       land.

              PLAIN TIFFS’ ORIGINAL PETITION                                                                             — PAGE 10



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                         In addition, as mentioned above, approximately 120 acres of large and old high-quality

              trees along the        banks of Bois D’ Arc Creek generally located within 50 yards along both sides of

              the creek will have to be           removed and/or           will die.   In addition to providing beauty and        all   the

              normal beneﬁts of          trees, these trees located in the              ﬂood zone and along       the creek provided

              excellent erosion control. Without the trees, erosion along the creek will                         be a problem unless

                  signiﬁcant steps are taken to restore erosion control going forward after the trees are gone.                         The

              lost value    of these     trees is signiﬁcant.            NTMWD and P&J should compensate Plaintiffs for the
              loss in value of the trees.


                         In addition, the    overﬂow of surface water carrying sedimentation,                  trees,   and other debris

              damaged and ruined approximately 36,000                         linear feet   of barbed wire fencing on         Plaintiffs’


              property. Approximately 5,300 linear feet                     of this fencing was along public roadways, with the

              remaining 31,000 linear            feet contained within the             ranch   —   perimeter and cross-fencing.         The

              existing fence needs to           be removed and replaced. The approximate location of the damaged

              fencing areas     is   shown below.




                                                                                        bountlary and
                                                                                        cross fences in
                                                                                        yellow



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                                           in   In-;n'_\'   Gold

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              PLAINTIFFS’ ORIGINAL PETITION                                                                                  — PAGE 11



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                           Finally, all the trash, trees,   and logs   that   have washed onto the property need                       to   be

                  gathered and either taken to a landﬁll or burned on          site.    Plaintiffs   should be compensated for

                  this expense.


                           Since the event that caused the damage to the ranch, there have been four or five events

                  that   have ﬂooded the ranch just in the        last year.      This frequency of ﬂooding was never

                  experienced before. Land that was not in the ﬂoodplain          is   now ﬂooding when there is rain.

                             Previous rain events did not cause property damage before lake construction.

                           NTMWD’s       construction of the reservoir began on or about June              1,   2018 and included

                  c1ear—cutting a signiﬁcant portion of the trees in the footprint         of the reservoir and land             clearing.

              Weather data from the Honey Grove              station for the   nine-month time period from June                   1,   2018

              through February 28, 2019, shows prior instances of more intense rainfall over similar time

              periods that did not cause property damage.

                           As   a point of reference, the    NOAA      Record of Climatological Observations ﬁrom the

              Honey Grove station         for the period   of June 2018 through February 2019 shows a total                     rainfall    of

              44.07 inches.          (Exhibit A).   For the time period encompassing June 2000 through February

              2001, the Honey Grove station measured 48.39 inches of                    rainfall.    (Exhibit B). For the time

              period from June 1996 through February 1997, the                Honey Grove       station   measured       total rainfall


              in the      amount of 50.82   inches. (Exhibit C).       On neither      of those prior occasions did         Plaintiffs’


              land experience the character of property         damage that is complained of in this            case.

                          Further, the   NOAA records show other nine-month periods outside of the June through
              February range wherein equally or more intense             rainfall   amounts were measured               for the    Honey

              Grove       station.   From October 1981 through June       1982, the     Honey Grove       station   measured 55.87

              inches of rainfall, almost a foot      more rain than    the 44.07 falling from June         2018 through the end


              PLAINTIFFS’ ORIGINAL PETITION                                                                                ——   PAGE 12


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                  of February 2019. (Exhibit D). Similarly, from October 2015 through June 2016 the Honey

                  Grove    station    measured 54.20 inches of        rainfall, ten    inches more than the amount measured

                  during the time period        at issue.   (Exhibit E).   From October 1991 through June                 1992, the   Honey

                  Grove    station    measured 53.37 inches of        rainfall.    (Exhibit F).       From January 1990 through

                  September 1990, the Honey Grove station measured 48.44 inches of rainfall. (Exhibit G). From

                  April 1991 through       December 1991, the Honey Grove             station   measured 46.76 inches of rainfall.

                  (Exhibit H).       From October 2000 through June 2001,             the    Honey Grove     station      measured 52.19

                  inches of rainfall. (Exhibit       1).    From August 2001 through April 2002,            the   Honey Grove         station


                  measured 47.39 inches of rainfall. (Exhibit              .1).   Finally,   from April 2007 through December

                  2007, the      Honey Grove station received 47.00 inches of rainfall. (Exhibit K). Despite receiving

                  signiﬁcantly higher volumes of rainfall over similar nine-month time periods, on none of those

              prior occasions did Plaintiffs’ property incur the type of                     damage   it   did following      NTMWD’s
                  construction activities.

                           The    rainfall in   September 2018 was 14.38 inches and in October 2018 was 10.77 inches.

                  Between 1980 mid         the present, there     were numerous other months with             rainfall      exceeding ten

              inches,      and four months        that virtually equaled or       exceeded the September          total   of 14.38 inches

                  (in italic):


                                                                  Oct 1981 — 15.8 ”
                                                                  May 1982 — 19.07"
                                                                  May 1989 — 10.29”
                                                                  May 1990 -10.10”
                                                                  Oct 1991 — 10.47”
                                                                  June 1992 — 10.26”
                                                                  Oct 1993 — 10.95”
                                                                  May 1995 -11.31”
                                                                  Nov 1996 — 10.43”
                                                                  Nov 2000 — 10.86”
                                                                  Feb 2001 — 11.41”
                                                                 March 2002 — 10.30”

              PLAINTIFF S’ ORIGINAL PETITION                                                                                   — PAGE 13



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                                                                     June 2007 — 11.79”
                                                                    March 2008 — 14.23”
                                                                    2010-2014       NO
                                                                                  DATA
                                                                     Nov 2015 -— 15.17”
                  (Exhibit L).

                             In   September and October of 2018, the highest cumulative                     total for    a three-calendar-day

                  period was 12.5 inches from September 21 to September 23.                           The highest        single   day   total    was

                  7.37 inches on September 22. (Exhibit A).                    A very similar storm took place in November 2015
                  and   in   October of 1993. Between November 27 and November 29, 2015, 10.41 inches                                   fell,   with

                  6.67 inches falling on          November 27. (Exhibit M).              8.79 inches   fell   from October 18       to   October

                  20, 1993, with 6.47 inches falling             on October    19. 1993.     (Exhibit N).

                             Last,    it is   a matter    of public record   that   NTMWD ﬁled numerous condemnation actions
                  in   Fannin County Court           at   Law   for the acquisition      of both   fee simple    title   as well as     ﬂoodway

                  easement        interests for the land      needed for the ultimate footprint of the lake aﬁer the lake                 is ﬁ.1lly


                  functioning and impounding water.                   Before ﬁling the cases, over a period of                     many     years

              NTMWD               acquired around 10,000 acres of land needed through negotiation with landowners.

              Those acquisitions were voluntary                  in the sense that the     landowners did not force         NTMWD to ﬁle
              condemnation cases, but they were nonetheless acquisitions from landowners under the threat of

              eminent domain. Thus,                 NTMWD knew that            it   needed   to acquire   and pay for legal rights from

              landowners whose land was being used for the project. In                         this case,     even though the LoJo Ranch

              is       not within the footprint of the lake, the             damage and taking       that has befallen the         Ranch        is   no

              less a result          of the alleged public-use project of the Bois D’ Arc Reservoir.




              PLAINTIFF S’ ORIGINAL PETITION                                                                                       — PAGE 14



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                                                                                V.
                                                                 DISCOVERY RULE
                            The Discovery Rule applies          tolling the limitations periods applicable to Plaintiffs’ causes


                  of action.     Heavy   rains hit the area of Plaintiﬂs’ land in                 September and October of 2018,

                  ﬂooding the land.      It   was not   until   October 2018 that           Plaintiffs   were able   to discover the         silt,


                  trash,   and sediment deposited on      their land as        ﬂood waters     receded. Prior to that time, Plaintiffs

                  were prevented from entering the property due                  to the   wet and ﬂooded conditions and also could

                  not see the    damage because of ﬂooding. Thus,                     to the extent necessary, the      Discovery Rule

                  applies tolling limitations for Plaintiffs’ causes of action.


                                                                                VI.
                                                                CAUSES OF ACTION
                           The   facts recited   above are       all   incorporated       by reference     into   each of the Causes of

                  Action listed below as if fully   set forth therein.


              A.            Inverse Condenmation Against               NTMWD
                           NTMWD is responsible for the development, design, construction, and operation of the
                  alleged public use and public necessity Bois                   D’ Arc Creek Reservoir           project, including the

              construction project undertaken by                  NTMWD’s              contractor P&J, near and upstream from

              Plaintiffs’ property.           NTMWD      intentionally permitted, designed, constructed, and/or operated

              the Bois        D’ Arc Creek Reservoir and               its   construction for which Plaintiffs’ property           is    being

              temporarily and/or pennanently taken, damaged, and destroyed in Fannin County, Texas.                                          The

              project       was designed, constructed and operated                    to either intentionally deliver surface            water

              runoff onto and through Plaintiffs’ property for public use, or in a                                way such      that    it   was

              substantially certain that the       LoJo Ranch would be damaged because of the                        project.    NTMWD
              knew and intended          that such surface water runoff                   be delivered onto and through          Plaintiffs’



              PLAIN TIFFS’ ORIGINAL PETITION                                                                                    — PAGE 15



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                  property, or the delivery of such surface water runoff and resulting                                 damages were the

                  substantially certain result          of NTMWD’s plan, design, construction, and operation of the                     project.

                  NTMWD’s        intentional diversion of such surface water runoff onto Plaintiffs’ property has, in


                  fact,   caused damage to the value of Plaintiffs’ property.

                            NTMWD’s actions and conduct constitute a taking, damaging or destruction of Plaintiffs’
                  property under Article          1,    §l7 of the Texas Constitution and constitute a taking and damage of

                  private property for public use under the Fifth                  Amendment   to the   United States Constitution.

                            If the   Court ﬁnds that Defendant              NTMWD did not have the requisite knowledge or intent
                  to constitute       an inverse taking           at the    time the Bois D’ Arc Creek Reservoir was permitted,

                  designed, operated, and/or constructed, as of and at every                    moment     after the   time    NTMWD did
                  learn    of the damages to             Plaintiffs’ property        caused by the construction        activities   of P&J,

              NTMWD’s                actions   and conduct          constitute a taking,     damaging or destruction of           Plaintiffs’


              property under Article              1,   §17 of the Texas Constitution and the Fiﬁh Amendment                    to the   United

                  States Constitution.

              B.            Respondeat Superior Against                    NTMWD
                            Plaintiffs   hereby incorporate for all purposes the allegations              set forth   above.

                            In the alternative,          NTMWD             is   vicariously liable for the inverse conderrmation of

              Plaintiffs’       property under the theory of Respondeat Superior.                    NTMWD liable for theis


              actions/omissions of              its    contractor,    P&J, over whose       tasks NTMWD had the legal right and

              obligation to control through                its    contract or otherwise.     P&J   took intentional action through the

              construction of the project that               it   knew would cause temporary and/or permanent damages                    to the


              LoJo Ranch or             it   took actions that were substantially certain to cause damage. P&J                    knew and

              intended that surface water runoff would be delivered onto and through Plaintiffs’ property, or



              PLAINTIFFS’ ORIGINAL PETITION                                                                                      — PAGE 16



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                  that the delivery       of such surface water runoff and resulting damages were                     substantially certain to

                  occur as a result of P&J’s design, construction, and operation of the project. These actions have,

                  in fact, caused      damage to   the value of Plaintiffs’ property.

                             P&J was      constructing the Bois D’ Arc Reservoir, which                       is   NTMWD’s     alleged public

                  project    which can only be constructed under the                legal scope   and power of NTMWD’s             status as a


                  sovereign, and the project and         its   design and construction are             all   part of the purposes for     which

                  NTMWD         exists.     The taking of Plaintiffs’ land           is   a direct result from the alleged public use

                  project just as if the land         was included within            the footprint of the permanent lake project.

                  NTMWD         is   responsible for the actions of its contract.          The construction of the reservoir is one of

                  the essential functions for which        NTMWD was created and why NTMWD has been granted the
                  power to condenm.

                             P&J’s actions and conduct,               for   which   NTMWD         is   responsible, constitute a taking,

                  damaging or destruction of Plaintiffs’ property under Article                        1,    §l7 of the Texas Constitution

                  and constitute a taking and damage of private property for public use under the Fifth Amendment

                  to t.he   United States Constitution.

                  C.         Respondeat Superior Against NTMWD—Texas Tort Claims Act

                             Plaintiffs   hereby incorporate for all purposes the allegations                 set forth   above.

                             In the alternative,   NTMWD             is   vicariously liable for the         damage   to Plaintiffs’ property

              under the theory of Respondeat Superior under the Texas Tort Claims Act.                                     NTMWD     is   liable

                  for the actions/omissions        of its contractor, P&J, over whose tasks                   NTMWD had the legal right
                  and obligation to control through            its   contract or otherwise.       P&J        took intentional action through

              the construction of the project that              it   knew would cause temporary               and/or permanent damages to




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                  the   LoJo Ranch or      it   took actions that were substantially certain to cause such damages and/or

                  which proximately caused such damages.

                          More        speciﬁcally with regard to the liability of             NTMWD,         Plaintiffs’   damages were

              proximately caused and arise out of the negligent operation and/or use of motor-driven vehicles

                  or motor-driven equipment by            NTMWD’s        contractor   P&J     during   its   construction activities on

              the land near and upstream of Plaintiffs’ property, and over                    whose    tasks   NTMWD had the legal
              right to control.


                          At    all   times material hereto, the actions/omissions of              P&J       as set forth above      were

              performed as part of the tasks lawfully assigned                to   P&J by NTWMD and were within the                 scope

              of P&J’s contract with NTMWD.

                  D.      Violation of Texas          Water Code Against P&J

                          Plaintiffs    hereby incorporate for    all   purposes the allegations set forth above.

                          The     activities    of   P&J and P&J’s   agents on the land adjacent to the Plaintiffs’ property

              have resulted in the unlawful diversion of surface water in violation of §11.086(a) of the Texas

              Water Code. Section 11.086(a) prohibits the diversion of the natural                       ﬂow of surface waters in a
              manner       that   damages the property of another by the overﬂow of the water                    diverted.   Defendants

              violated Section 11.086                 by building temporary dams and impoundment ponds                         to catch

              ﬂoodwaters on the            site   before allowing them to go       offsite.    When    these structures failed in the

              storm,      all   the   ﬂood waters were released      in a   manner    that   was more concentrated than        it   would

              have been otherwise           if the project   had never been constructed.

                          Plaintiffs seek       damages occasioned by P&J and          its   agents’ unlawful diversion of surface

              water. TEX.         WATER CODE §11.086(b).



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                  E.     Negligence Against          P&J
                         Plaintiffs   hereby incorporate for all purposes the allegations                 set forth   above.

                         P&J owed      a duty to Plaintiffs, the downstream neighbors along Bois D’ Arc Creek, to

              perform     its   construction activities on the land adjacent to Plaintiffs’ property in the                      manner of a

              reasonable and prudent person to avoid damaging Plaintiffs’ property. This included retaining

                  storm waters on the    site   of the lake project or controlling the release of the waters in a                   way that
              would not be damaging             to   downstream landovmers. This                also includes allowing the release        of

              water downstream without carrying with                 it   all   the debris,   soil, silt, trees,   lumber, and other waste

              from the lake construction             site, all   of which P&J was obligated to keep on                   site.    The storm

              events that have caused the damages were foreseeable and the                                 same or     similar events   had

              occurred in the past.       On information and belief,              local contractors      who were hired to work on the

              project    knew when      the event started that they should get their trucks and equipment out of the

              bottom     areas, but   P&J   did not. P&J, on information and belief, lost multiple pieces of expensive

              construction equipment due to ﬂooding because                             it   failed to   remove the equipment.           On
              infonnation and belief, local contractors warned                    P&J    regarding the risks of ﬂooding and warned

              them to remove their own equipment.

                        Additionally,     P&J, on its own and through the conduct of its agents, breached that duty in

              the following ways:

                         1.        Improperly grading, clear-cutting or otherwise changing the elevation, slope, and
                                   nature of the land adjacent to Plaintiffs’ property in a negligent, reckless, or
                                   deliberate fashion;

                        2.         Improperly constructing temporary areas meant to prevent the trees, dirt, silt, and
                                   other debris removed during its construction activities from running off the site
                                   and onto Plaintiffs’ property;

                        3.         Constructing a temporary retention dam in a manner that did not hold or contain
                                   surface ﬂows from a foreseeable rain event; and

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                           4.           Constructing a temporary retention dam in a manner that was not structurally
                                        sound and that breached and failed, causing the immediate release of ﬂoodwaters,
                                        silt,   debris, trees, etc.    downstream.

                           The        actions     of P&J and     its    agents in clear—cutting such large acreages, altering the

              physical nature of the land, and exposing                         all that soil   to erosion and     overﬂow of debris within a

              watershed area             is   obviously potentially damaging to downstream landowners such as Plaintiffs—

              it is,     in fact, the single greatest risk of                   damages    resulting     from the construction of the lake

              project.


                           As a proximate            cause of P&J’s negligence in conducting those activities, Plaintiffs have

                  suffered substantial            damages as      set forth herein, including               damages       to real property     and

              economic injury.

              F.           Negligence Per Se Against                  P&J
                           Plaintiffs         hereby incorporate for      all   purposes the allegations          set forth   above.

                           P&J’s negligence described above                      in Paragraph      V(B) violated a        statute.     Speciﬁcally,

                  §   11.086 of the Texas Water Code prohibits the diversion of the natural                           ﬂow of surface waters in
              this state in          a manner that damages the property of another by the                    overﬂow of the water diverted.

                           The       statute is designed to protect property              owners      like Plaintiffs against     damage   to their


              property caused by another person’s improper diversion of the natural                                     ﬂow     of surface waters.

              See TEX.          WATER CODE §1 1.086(a).
                           The       statute is   of the type   that   imposes      tort liability.   See   id.   §11.086(b) (“A person whose

              property      is       injured    by an overﬂow of water caused by an unlawful diversion or impounding has

              remedies          at   law and in equity and may recover damages occasioned by the overﬂow.”).

                           P&J’s violation of the           statute    was without legal excuse.



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